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United States District Court

SOUTHERN DISTRICT OF INDIANA

UNITED sTATEs oF AMERICA
CRIMINAL COMPLAINT'

V° CASE NUMBER: l : l 8-mj-00210

WILLIE REYNOLDS

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about February 21, 2018, in Marion County, in the Southern District of Indiana
defendant did,

Count l: Possession of a Firearrn by a Prohibited Person, in violation of Title 18, United States Code, Section
922(£-§)(1)-

l further state that I arn a Special Agent, and that this complaint is based on the following facts:
See attached AFFIDAVIT

Mi/-#

Christophef J. @Ify§r, Task Force Offlcer, ATF

Continued on the attached sheet and made a part hereof.

 

Sworn to before me, and subscribed in my presence

 

March 6, 2018 at Indianapolis, Indiana
Date ' '

 

Mark J. Dinsmore, U.S. Magistrate Judge `_
Name and Title ofJudicial ofncer sign`mfre qf.l k/iv{al officer

 

 

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AFFIDAVIT

Your Affiant, Lieutenant Christopher J. Heffner being first duly sworn upon my oath,
state as follows:

Affiant Background and Purpose of Affidavit '

l. I am a police officer with the Marion County Sheriffs’ Office (MCSO). l have been
a police officer in lndianapolis and Marion County, Indiana for the past thirty-three (33) years. I
am a “law enforcement officer” as defined in Indiana Code Section 35-31.5-2-185.

2. l am also a Task vForce Officer (TFO) with the Bureau of Alcohol, Tobacco,
. Firearms and Explosives (ATF). I was a TFO with ATF from 2007 to 2012, and I have been an
active TFO from 2013 to present. ln connection with my official duties, l am involved in
investigations relating to violations of Federal and Indiana firearms laws.

3. l have received training related to the enforcement of federal and Indiana criminal
laws, including the following:

5 4. My initial training was at the Indiana Law Enforcement Academy in 1985. l have
satisfied the minimum basic training requirements established by rules adopted by the Law
Enforcement Training Board under Indiana Code section 5-2-1-9 and described in 35-37-4-5.

5. I have attended multiple schools relating to interview and investigation techniques,
both through MCSO and the Indianapolis Metropolitan Police Department (IMPD), including the
Drug Enforcement Administration (DEA) lnvestigations and Undercover Academy, the ATF
Academy, and the Southern Police lnstitute/University of Louisville Homicide and Death
lnvestigations School.

6. l also have extensive training and schooling in investigations of narcotics, firearms,

and homicide crimes, as well as other covert investigations l have conducted more than one

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thousand narcotics and/or firearms investigations. l also received yearly in-service training
through the IMPD, MCSO, and ATF.

7. This Affidavit is submitted in support of a criminal complaint charging Willie
REYNOLDS (date of birth is XX/XX/l982 and SSN XX-XXX-7973) with Possession of a
Firearm By a Prohibited Person in violation of Title 18, United States Code, Sections 922(g)(1).
The information contained in this Affidavit is a combination of information known to me
personally and related to me by other law enforcement officers either through direct
conversations with them or through their official written reports.

Facts Supporting Probable Cause

8. On February 21, 2018, lndianapolis Metropolitan Police Department (IMPD)
officers responded to 3601 S. Shelby Street, Indianapolis, Indiana on a report of “shots fired.” A
witness identified two individuals involved as suspects: Jermaine Davis and Willie REYNOLDS,
The witness stated she heard the front seat passenger in Jermaine Davis’s vehicle, whom she
knows as REYNOLDS, yell “no!” and stated Jermaine Davis then discharged the handgun at her
approximately 4 times, striking her vehicle. The witness stated at one point that she believed
Jermaine Davis was pointing the handgun at the gas tank of the vehicle in an attempt to blow the
car up and kill her. The witness also stated that Jermaine Davis was pointing the handgun at her
when he fired it.

9. On February 22, 2018, Jermaine Davis was taken into custody after being observed
leaving the residence of REYNOLDS, at 514 North Chester Street, with REYNOLDS by
Officers surveilling the residence. Jermaine Davis was driving a Black Chevy Cobalt, and
REYNOLDS seated in the front passenger seat. During Davis’s arrest, officers observed an

empty black nylon handgun holster, with a loaded magazine in the pouch affixed to the holster,

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on the rear floorboard of the vehicle. Officers seized the magazine and holster, knowing both
Davis and REYNOLDS to be prohibited persons, and for its potential connection to the shooting
stated above. On February 22, 2018, IMPD officers executed a search warrant at 514 North
Chester Avenue, Indianapolis, Indiana, REYNOLDS’ residence. A loaded BERSA .380
handgun, serial number C49068, was recovered from the residence. On March 1, 2018, your
affiant personally viewed the BERSA .3 80 pistol recovered from the REYNOLDS residence, and
the holster and magazine recovered from the Black Chevy Cobalt during Davis’ arrest. Your
affiant observed that the magazine recovered in the empty holster was fully loaded with .380
ammunition, and had BERSA stamped on the side. Furthermore, the magazine functioned in the
BERSA .3 80 pistol recovered from REYNOLDS’s residence during the search Warrant.

10. On February23, 2018, IMPD Detective Jason Ross conducted a recorded telephone
interview of REYNOLDS, who stated the police confiscated a .3 80 handgun from the residence
when they executed a search warrant, REYNOLDS stated he knows he is prohibited from
owning a firearm because he is a convicted felon, but the handgun belongs to his 12-year-old son
and though he keeps it in the house, he “spaced” that it was even there.

11. REYNOLDS stated the handgun had not been fired in two (2) months, since
REYNOLDS purchased it. REYNOLDS stated when he first purchased the gun he had taken the
gun shooting and has not shot it since.

12. REYNOLDS further stated his house had previously been broken into, and a
different gun that belonged to his son was stolen, and he had bought the handgun recovered by
police during the search warrant, to replace the one that had been stolen.

13. REYNOLDS had previously sustained convictions for crimes punishable by more

than one year of imprisonment, including: Burglary (a C-felony) Hancock County (Indiana)

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Superior Court, cause number 30D01-0304-FC-000087 on December 3, 2003, and Theft (a level
6-felony) in Marion County (lndiana) Superior Court cause number 49G24-1604-F6-014471, on
or about April 26, 2016.

14. ATF Special Agent Brian Clancy, a firearms nexus expert with training specific to
determining the manufacturing origin of firearms in the United States, verified that the BERSA
.3 80 handgun, serial number C49068, was not manufactured in the State of lndiana.
Accordingly, the BERSA pistol was shipped or transported in interstate or foreign commerce.`

Summary and Request

1. Based on the information in this Affidavit, l submit there is probable cause to
believe that on or about February 22, 2018, Willie REYNOLDS possessed a firearm while being
a prohibited person in violation of Title 18, United States Code, Section 922(g)(l). Accordingly,

l respectfully request this Court issue a criminal complaint charging him with that offense along

di w r/~

sk Force Officer
Bureau of Alcoh l, Tob cco, Firearms and

with a warrant for his arrest.

 

Sworn to before me, and subscribed in my presence, this 6th day of March 2018.

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Mark '.\'Ai)ins&f}§/e,`Magistrate Judge
Unite _State istrict Court
Southern Dist_rict of Indiana

